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editors running war correspondents in and out of conflict zones (Exhibit #16). She is a graduate of
Mount Holyoke College and attended the University of Colorado where she worked on her
Master’s degree: she won many academic awards and scholarships and endeavored to have a
bright future ahead of her. Plaintiff ran the world’s top photojournalists in and out of war zones
and covered top stories on all fronts for over the past decade. (Exhibit # 16 list of some of Price’s
journalistic accomplishments.) She had achieved a high level of respect and admiration based on
trust and love and solid, steady, cool-headed work. Now her life is literally in tatters. Credibility is
key to the journalistic community and the pallor of criminality still follows her as a result of the
malicious arrests and prosecutions. The emotional pain and suffering from these events has
debilitating effects on Plaintiff who has literally lost everything she worked for: her personal
identity, her career, her familial and social support networks, her unborn child, her apartment, her
belongings, had her car repossessed, lost a pet because she did not have funds for vet bills, been
ostracized from every thing and everyone that meant anything to her. She was at one time trusted
and loved until her world fell apart because of these prosecutions by the people she turned to for
help at her darkest, most helpless hour. Plaintiff more than anything wants her name back and
wishes to continue to do the good work she was producing. She struggled to build a beautiful life
for herself. Now she is trying to put the pieces of her life together but her troubles seem to

compound as time slips by.

Plaintiff has been diagnosed with Complex Post-Traumatic-Stress-Disorder by Psychiatrists and
therapists at the St. Luke’s Roosevelt Hospital’s Crime Victims Center where she has been in intensive
Domestic Violence therapies and programs since 2011 and by the Psychiatric staff at Bellevue
Hospital’s 9/11 Survivors’ Health Care Program. She suffers severe depression, bouts of racing
thoughts, nausea, temperature swings, disassociation, mood-swings, sleeplessness, despair, weight
fluctuations, digestive disorders and headaches. She is currently in therapy at Sanctuary for Families,
New York for the same disorders.

DAMAGES DEMAND WHEREFORE, Plaintiff demands judgment against the Defendants as

follows:

For POLICY CHANGE for the way victims of trafficking and battery abused by Confidential

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Informants and/or witnesses/complainants on major cases are handled by the Police and District
Attorneys when they come forward for help and to report the abuse.

b. For compensatory damages of not less than $30 million;

c. For punitive damages against the individual Defendants of$10 million;

d. For reasonable attorneys’ fees, together with costs and disbursements,

e. pursuant to 42 U.S.C. §1988 and to the inherent powers of this Court,

f. For pre-judgment interest as allowed by law; and For such other and further relief'as_ this Court
may deem just and proper.

127. The Manhattan District Attorney, Mr. Cyrus Vance, Jr., quoted Berger v S, 295 U.S. 78, 88 (1935) in
his Recommendation for Dismissal of charges against DSK: “Along with the substantial power
conferred upon prosecutors come unique responsibilities. Rather than serving only as a zealous
advocate on behalf of a client, prosecutors have a broader set of obligations to the community, the
victim, and the defendant:

a. “The [prosecutor] is the representative not of an ordinary party to a
controversy, but of a sovereignty whose obligation to govern
impartially is a complaint as its obligation to govern at all; and whose
interest, therefore, in a criminal prosecution is not that it shall win a
case, but that justice shall be done. As such, he is in a peculiar and very
definite sense the servant of the law, the twofold aim of which is that
guilt shall not escape or innocence suffer.”

128. How much longer must Ms. Price suffer?

—
Kelly Price Sworn to me 13" day of August, 2015

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August 13, 2015

  
 

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